

PER CUR.

The Court is of opinion, that there is error in so much of the said decree as orders the said William Richardson, and the appellant, to seal and deliver an obligation for the delivery to the appellees of the slave Judy named in the answers, and the increase of the said Judy, or such of them as shall survive the said ,dnn Richardson, the appellant having stated in his answer, which is *26not disproved, that he was a fair purchaser for a valuable consideration, without notice of the title of the appellees, and had sold the said slave Judy before suit brought, or any notice of the appellees’ claim to, or interest in, the said slave. Therefore, it is decreed and ordered, that so much of the decree aforesaid as is herein stated to bo erroneous, be reversed and annulled; that the said William Richardson do with surety seal and deliver an obligation in the penalty of five hundred pounds, payable to the appellees, their executors, administrators, or assigns, with condition that the said slave Judy and her increase,* or such of them as shall survive the said Jinn Richardson, shall be delivered to the appellees, or their executors, administrators, or assigns; that the appellees’ bill be dismissed as to the appellant; that the residue of the decree aforesaid be affirmed; and that the appellees pay to the appellant his costs.

[* Ellison et al. v. Woody et al. 6 Munf. 368, and Maria et al. v. Surbaugh, 2 Rand. 230, J. Green’s op.]

